443 F.2d 23
    Basilio Rudas L. LEMUS, Defendant-Appellant,v.The GOVERNMENT OF the CANAL ZONE, Plaintiff-Appellee.No. 71-1144 Summary Calendar.**Rule 18, 5 Cir.; see Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part. I.
    United States Court of Appeals, Fifth Circuit.
    May 25, 1971.
    
      Basilio Rudas L. Lemus, pro se.
      Lester Engler, U.S. Atty., Wallace D. Baldwin, Asst. U.S. Atty., Balboa, Canal Zone, for plaintiff-appellee.
      Before BELL, AINSWORTH, and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    
      1
      This case comes to us on an appeal from the conviction of defendant after a non-jury trial for the offense of selling cocaine in violation of Title 26, 4705(a).  We must also pass on the motion of defendant's trial counsel, the public defender, to withdraw as counsel on appeal.
    
    
      2
      The public defender has performed his function as appeal counsel in strict conformity with Anders v. California, 1967, 386 U.S. 738, 744, 87 S.Ct. 1396, 18 L.Ed.2d 493, but has concluded that the appeal is frivolous.  Defendant has filed his own brief in addition to the brief filed by the public defender.
    
    
      3
      We have carefully considered the cause in its entirety and find no arguable merit in the appeal.  It is therefore ordered that the motion of the public defender to withdraw as appeal counsel is granted, and the appeal is dismissed.
    
    